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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                            CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


             ORDER and NOTICE OF SENTENCING HEARING

      Having given counsel adequate opportunity to provide the Court with

mutually agreeable dates for the continuance of the sentencing in this case, and

having not received such information,

      TAKE NOTICE that the sentencing hearing is scheduled for Tuesday,

March 29, 2022, at 9:30 a.m.   This hearing will be held before the Honorable

Gregory A. Presnell in Courtroom 5A, United States Courthouse, 401 West Central

Boulevard, Orlando, Florida. The defendant is required to be present.

      The following deadlines are set:

 Sentencing memoranda, witness lists, and copies of any        March 18, 2022
 exhibits:
 Any motions with respect to departure from the sentencing     March 21, 2022
 guidelines:
 Counsel to advise chambers of the estimated length of the     March 23, 2022
 hearing:
 Responses to motions with respect to departure:               March 25, 2022
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      Seating may be limited in Courtroom 5A. However, at least one overflow

area with both audio and video feed will be provided for the public and members

of the media.

      A separate order will be entered on a later date which provides additional

information for members of the press.

      DONE and ORDERED in Orlando, Florida on January 13, 2022.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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